                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                        DOCKET NO. 5:20-CR-00046-KDB-DSC


 UNITED STATES OF AMERICA,                       )
                                                 )
                                                 )
                                                 )
 v.                                              )                      ORDER
                                                 )
 JONATHAN COREY DANIEL,                          )
                                                 )
                 Defendant.                      )



       THIS MATTER is before the Court on Defendant’s “Motion to Seal” (Doc. No. 466) filed

June 30, 2022. On July 7, 2022, the “United States’ Response to Defendant’s Request to Seal

Documents” (Doc. No. 467) was filed. For the reasons set forth in the United States’ Response,

the Motion will be granted as detailed below.


       The Clerk is directed to seal the United States’ Response (Doc. No. 438), the Defendant’s

Motion Requesting Court Order to Compel Government to Disclose Brady Material (Doc. No.

455), the Defendant’s Motion to Seal a Motion and Attachments (Doc. No. 456), the United States’

Response (Doc. No. 459), and the current Motion and Attachment (Doc. No. 466). Additionally,

sealed documents will remain sealed until further Order of the Court.


       The Clerk is directed to send copies of this Order to Defendant, the U.S. Attorney and to

the Honorable Kenneth D. Bell.


       SO ORDERED.                    Signed: July 8, 2022




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